          Case 1-22-40780-jmm              Doc 23       Filed 05/19/22    Entered 05/19/22 09:05:00


UNITED STATES BANKRUPTCY COURT                                     Return Date: June 23, 2022
EASTERN DISTRICT OF NEW YORK                                       Time: 10:00 a.m.
--------------------------------------------------------X
In re:
                                                                   Chapter 13
                                                                   Case No.: 22-40780-206
CARMEN BRINK

                           Debtor(s)                               NOTICE OF MOTION
--------------------------------------------------------X
SIRS / MADAMS:

                PLEASE TAKE NOTICE, that MICHAEL J. MACCO, Chapter 13 Trustee of the above
captioned estate, will move before the Honorable Jil Mazer-Marino, United States Bankruptcy Judge, on the
23rd, day of JUNE, 2022 at 10:00AM, at the United States Bankruptcy Court located at 271 Cadman Plaza
East – Courtroom 3529, Brooklyn, New York 11201, for an Order pursuant to 11 U.S.C. §§521 & 1307(c),
dismissing this case, by reason of the debtor(s)’ failure to submit monthly pre-confirmation payments,
failure to provide and/or file documents, failure to appear, and/or, be examined at §341 meeting of creditors,
and for such other and further relief as this Court deems just and proper.

              PLEASE TAKE FURTHER NOTICE, that answering papers, if any, shall be filed with the
Court and served on the undersigned no later than seven (7) days prior to the return date of this motion.

Dated: Islandia, New York                                   Yours, etc.
       May 19, 2022
                                                            MICHAEL J. MACCO
                                                            Chapter 13 Trustee
                                                            2950 Express Drive South, Suite 109
                                                            Islandia, NY 11749
                                                            (631) 549-7900

To:     Office of the United States Trustee
        CARMEN BRINK, Pro-Se Debtor(s)
        All Interested Parties and Creditors
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X          tmm1634
In re:
                                                                   Chapter 13
                                                                   Case No.: 22-40780-206
CARMEN BRINK

                           Debtor(s)                      APPLICATION
--------------------------------------------------------X
TO THE HONORABLE JIL MAZER-MARINO, UNITED STATES BANKRUPTCY JUDGE:

                MICHAEL J. MACCO, Chapter 13 Trustee of the above captioned estate, respectfully
represents, as follows:

          1. The debtor(s) filed a petition under the provisions of 11 U.S.C. Chapter 13 on
April 14, 2022, and thereafter MICHAEL J. MACCO was duly appointed and has qualified as Trustee.

           2. As of the date of this motion, the debtor(s) has failed to submit any monthly pre-
confirmation payments to the Trustee.

           3. In addition, as of this date the debtor(s) has failed to file and/or provide to the
Trustee; a Chapter 13 Plan, Certificate of Credit Counseling; Statement of Financial Affairs; Statement of
Current Monthly Income and Means Test; complete set of schedules; copies of pay statements from
employer for sixty (60) day period preceding filing, within the fifteen (15) day period required under the
Bankruptcy Code.

           4. Furthermore, as of this date the debtor has failed to provide the Trustee with
copies of previous year’s State and Federal Tax Returns; all filings required under Section 521; and all
mandatory disclosure documentation as set forth in Local Bankruptcy Rule 2003-1.

           5. Moreover, the debtor failed to appear, and/or, be examined at the initial §341
meeting of creditors, held on, May 18, 2022 at 10:30a.m.

             6. This is a material default and is prejudicial to the rights of the creditors of the
debtor.

            WHEREFORE, the Trustee requests an Order pursuant to the provisions of 11 U.S.C.
§§521 & 1307(c), dismissing this case, and for such other and further relief as this Court deems just and
proper.

Dated: Islandia, New York
       May 19, 2022
                                                    /s/ Michael J. Macco
                                                    Michael J. Macco, Chapter 13 Trustee
                                                    2950 Express Drive South, Suite 109
                                                    Islandia, NY 11749
                                                    (631) 549-7900
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STATE OF NEW YORK                     )
COUNTY OF SUFFOLK                     )     ss.:

                SANIYYAH S. GREENE, being duly sworn deposes and says: deponent is not a party to this
action, is over 18 years of age and resides in Suffolk County, New York.

                    On May 19, 2022, deponent served the within:

                                          NOTICE OF MOTION AND APPLICATION

upon the following parties, at the addresses designated by said parties for that purpose, by depositing a true
copy of same, enclosed in a post-paid, properly addressed wrapper in an official depository under the
exclusive care and custody of the United States Postal Service within the State of New York:

Carmen Brink
21-36 28th Street
Astoria, NY 11105
Pro Se Debtor(s)

and upon the following parties, by the e-mail address designated by said parties for that purpose;

Office of the United States Trustee
U.S. Federal Office Building
USTP.Region02.BR.TFRTDR@usdoj.gov




                                                         /s/ Saniyyah S. Greene
                                                         SANIYYAH S. GREENE
Sworn to before me this
19th day of MAY, 2022


/s/ Janine M. Zarrilli
NOTARY PUBLIC
Janine M. Zarrilli
Notary Public, State of New York
No. 01ZA5084708
Qualified in Nassau County
Commission Expires October 14, 2025
